                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF MISSOURI
                                WESTERN DIVISION


UNITED STATES OF AMERICA,                    )
                                             )
                      Plaintiff,             )
                                             )
v.                                           )       Case No. 09-00143-06-CR-W-ODS
                                             )
VIOREL SIMON,                                )
                                             )
                      Defendant.             )


          REPORT AND RECOMMENDATION CONCERNING PLEA OF GUILTY

       Defendant Viorel Simon appeared before me pursuant to Fed.R.Crim.P. 11, Local Rule

72.1(j)(26) and 28 U.S.C. § 636 and entered a plea of guilty to Counts Two and Sixty-Three of the

Superseding Indictment. I determined that the guilty plea is knowledgeable and voluntary and that

the offenses charged are supported by an independent basis in fact containing each of the essential

elements of such offenses. A record was made of the proceedings and a transcript is available. I

therefore recommend that the plea of guilty be accepted and that the defendant be adjudged guilty

and have sentence imposed accordingly.

       Failure to file written objections to this Report and Recommendation with fourteen days from

the date of its service shall bar an aggrieved party from attacking such Report and Recommendation

before the assigned United States District Judge. 28 U.S.C. § 636(b)(1)(B).



                                                            /s/ Sarah W. Hays
                                                            SARAH W. HAYS
                                                   UNITED STATES MAGISTRATE JUDGE




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